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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v                                      )           CR. NO. 2:06cr71-MEF
                                              )
BERNETTA LASHAY WILLIS                        )

                                           ORDER

       Upon consideration of the motion for a competency hearing and for an inpatient

psychiatric evaluation (doc. # 254) filed by the defendant, it is

       ORDERED that a hearing be and is hereby set on July 2, 2007, at 3:00 p.m. in

Courtroom 4B, United States Courthouse, One Church Street, Montgomery, Alabama. If the

defendant is in custody, the United States Marshal or the person having custody of the

defendant shall produce the defendant for the hearing.

       Done this 28th day of June, 2007.



                                         /s/Charles S. Coody
                                    CHARLES S. COODY
                                    CHIEF UNITED STATES MAGISTRATE JUDGE
